Order Form (01/2005)
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                               United States District Court, Northern District of Illinois

     Name of Assigned Judge          Joan B. Gottschall          Sitting Judge if Other
        or Magistrate Judge                                       than Assigned Judge

   CASE NUMBER                            07 C 7252                          DATE                     11/17/2008
            CASE                                   Michelle Pantel vs. TMG of Illinois, LLC et al.
            TITLE

  DOCKET ENTRY TEXT

  For the reasons stated in the attached order, the defendants’ motion to stay proceedings and compel
  arbitration [21] is granted and the plaintiff is ordered to proceed to arbitration. The balance of the case is
  stayed pending arbitration. The parties are ordered to contact the courtroom deputy and request that a status
  hearing be set within 30 days of the arbitrator’s final decision. The court directs the clerk to remove docket
  number [21-2] from CM/ECF due to non-compliance with Federal Rule of Civil Procedure 5.2(a) and orders
  the defendants to refile the exhibits, with an appropriately redacted Arbitration Policy.

  O [ For further detail see separate order(s).]                                                                Docketing to mail notices.




                                                                                          Courtroom Deputy               DAM/RJ
                                                                                                    Initials:




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